Case 0:13-cv-61475-RNS Document 7 Entered on FLSD Docket 07/24/2013 Page 1 of 20

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
Case Number: 13-61475-Civ.-Scola
x
645 West. 44" Street Associates, assignee
of Marine Midland Bank, N.A
Plaintiff,

— against—

Richard F. Koch,
Defendant.

Plaintiff, by its attorneys, Law Office of Martin Mushkin LLC, and William G. Osborne,

P.A. allege:
THE PARTIES

1, Plaintiff is a general partnership organized in, and with its business in, New York
County, New York. It is a citizen of New York. The members of the partnership are listed on
Exh. | and attested to in Exhibits 2 and 3 hereto. All of the partners are citizens of States other
than Florida.
2. Richard F. Koch is a judgment debtor and citizens of the State of Florida with a residence
in Pompano Beach, Florida. The name Koch Realty Co. appears on the judgments, Exhibits 4
and 6 attached hereto, which were entered in the judgment roles of the Supreme Court of the
State of New York, New York County, Upon information and belief from time to time
Defendant Richard F, Koch did business under the name Koch Realty Co. It was not, and is not
believed to be, an entity separate from Defendant Richard F. Koch.
3 The amount in controversy, without interest and costs, exceeds the sum or value specified

by 28 U.S.C. §1332.
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SUBSTANTIVE ALLEGATIONS

4, Plaintiffis the assignee of a judgment against, Richard I’. Koch entered in the Supreme
Court of the State of New York, New York County, in favor of Marine Midland Bank, N.A, in
the amount of $3,539,221.94 including interest at the New York statutory annual rate of 9%
since entry of the judgment on October 14, 1993, Exh, 4. The judgment was assigned to 645
West 44" Street Associates on February 7, 1995. Exh 5. The judgment was renewed in the sum
of $7,318,968.82 by the entry of a judgment on June 4, 2008, Exh. 6,
5. On or about June 15, 2011, an action was brought in the Supreme Court of the State of
New York in New York County to enforce the judgments. On or about November 7, 2012, a
judgment was entered holding Richard F, Koch, and Helen Elkin in contempt and ordering each
of them to turn over to the plaintiff $184,550.95 plus interest costs and attorney’s fees. Exh. 6.
6. This action is brought to turn the attached foreign judgments, Exhs. 4 and 6, into a
judgment of this court pursuant to 28 USC §1738, so that they may be enforced as a federal
judgment in the US District Court for the Southern District of Florida.

Count I
ts Plaintiff is entitled to the entry of judgment against defendants pursuant to 28 USC §1738
is the sum of $7,318,968.82 plus interest since June 8, 2008, the date the judgment was renewed.

Count I
8. Plaintiff is entitled to the entry of judgment against the defendants pursuant to 28 USC
§1738 is the sum of $184,550.95 plus interest since the judgment was entered, November 7,

2012.

WHEREFORE the Plaintiff prays that judgment be entered against Defendants as follows:

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Case 0:13-cv-61475-RNS Document 7 Entered on FLSD Docket 07/24/2013 Page 3 of 20

A, On Count I in the sum of $7,318,968.82. plus interest since June 8, 2008. the date the

judgment was renewed;
B. On Count II in the sum of $184,550.95 plus interest since the judgment was entered,
November 7, 2012.
‘, The Defendants pay attorneys’ fees, interest, costs, and penalties to be assessed:
BF The Court grant such other and further relief as the Court may deem just and proper,
Dated: July 24, 2013

Respectfully submitted,

m 4
William G)Qsboyne, P
By pl p—

William G. Osborne

Attorneys for the Plaintiff

FL Bar # 273783

1305 East Robinson Street,
Orlando, FL 32801-1996

Tel: (407) 894-1534

Fax: (407) 894-1535

Email: bill@osborneattorneys.com

Law Offi Matti A Mish yh, LL LCL
By. Oi Slt Ue

Martin Mushkin
Attorneys for the Phaintlf
1100 Summer St.
Stamford, CT 06905
Tel: 203-252-2357
Fax: 203-547-7540
Email: mmushkin@mushkinlaw.com

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
Case Number: 13-61423-Civ.-Scola
%
645 West. 44" Street Associates, assignee
of Marine Midland Bank, N.A
Plaintiff,

Case No.
— against—

Richard F. Koch,
Defendants.

Jonathan Crate, being duly sworn says:

Page 5 of 20

1. Iam a citizen of the State of New Jersey and an administrator of 645 West 44" St.

Associates (“the Partnership”). I make this affidavit to set out the facts regarding the

citizenship of the members of the partnership. I am fully familiar with the facts stated

herein.

Z. The Partnership was formed in about 1993 and the interests in the partnership were

transferred to its current partners over time. The building at 645 West 44"

Street, New

York, NY was purchased by the Partnership in about that year when it came on the

market due to the foreclosure on its mortgage by the mortgagor, Marine Midland Bank,

N.A. The building had been owned by defendant Richard F. Koch. Simultaneously, the

Partnership purchased the unsatisfied judgment against Mr. Koch resulting from the

foreclosure. Exhibit 4.

3: As of the filing of the complaint in this action the Partnership was owned by 44" Street

Ministorage Properties, LLC, which is owned directly or indirectly by the persons on the

attached list. Among those people are Edison DD Company LLC and Edison EE, LLC.

These three limited liability companies are organized in the State of New York and have

EXHIBIT

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Case 0:13-cv-61475-RNS Document 7 Entered on FLSD Docket 07/24/2013 Page 6 of 20

their places of business in New Jersey and New York. The members of those LLCs are
listed on the attachment hereto. (Some people are members of more than one of the
LLCs.)

3. As of the filing of the complaint in this action, the states of citizenship of the partners
listed on the attachment hereto are the addresses which the partners informed the
Partnership from time to time they were to receive their Schedule K-1 tax returns sent out
annually by the Partnership. Copies of those K-1s are transmitted to the federal Internal
Revenue Service and the tax authorities of the states so designated. All the individual
partners have designated New York or New Jersey as the addresses for tax purposes. By
doing so they have subjected their income from the Partnership as being taxable by those
states.

4. All the trusts were established by members of the Gottesman family, the family of one of
the two brothers who founded Edison Properties, LLC. The trustee of the trusts is HNB
Trust Co., LLC (“HNB”), a Nevada trust company organized in that state in 2004, duly
licensed to carry on a trust business by that state since that date, and with offices in Reno,
Nevada. As shown by the affidavit of Bart Mowry, Esq. pursuant to Nevada Law, it is a
fiduciary with a duty and interest to protect the interests of the beneficiaries of the trust.

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Sworn to before me this 23rd day of
July , 2013

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Pe BP GD
CI A S_., Notary Public

Vv

\ SORETTI S. CUNHA
~ NOTARY PUBLIC OF NEW JERSEY
‘“y Commission Expires Aug. 6, 2017
Case 0:13-cv-61475-RNS Document 7 Entered on FLSD Docket 07/24/2013 Page 7 of 20

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
Case Number: 13-61423-Ciy.-Scola

x

645 West. 44" Street Associates, assignee
of Marine Midland Bank, N.A

Plaintiff,
Case No.
— against—

Richard F. Koch,

Defendant.

G. Barton Mowry, being duly sworn says:

I am a citizen of the State of Nevada, and a member of the Bar of that state. I make this
affidavit in support of the position of 645 West. 44" Street Associates (“the
Partnership”), the plaintiff in this action that there is diversity of citizenship for
jurisdictional purposes in this litigation. | am fully familiar with the facts stated herein.
Attached hereto is a list of the members of the Partnership. Among those partners are a
number of trusts. Our firm is Nevada counsel to those trusts and to HNB Trust Co. LLC
(“HNB”), the trustee of all of those trusts. Our firm is also the agent for service of
process of HNB.

HNB is a Nevada trust company organized in that state in 2004, duly licensed to carry on
a trust business by that state since that date, and with offices in Reno, Nevada. Pursuant
to Nevada law, it is a fiduciary with a duty and interest to protect the interests of the
beneficiaries of any trust of which it is trustee. It has the power as trustee to hold legal
title, purchase, sell, retain, and otherwise to dispose of property and to make distributions

to the beneficiaries of such trusts in accordance with the dispositive provisions thereof.

EXHIBIT

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Case 0:13-cv-61475-RNS Document 7 Entered on FLSD Docket 07/24/2013 Page 8 of 20

HNB does not have a presence in, or do business in, Florida.

A fcb the a

G. Barton Mowry

Sworn to before me this 43 day of
July, 2013 by G. Barton Mowry.

Suh Orn RB lr

Notary Public

EUSTOLIA R. BAKER i
Notary Public - State of Nevada :

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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

—-— = OS le = eR Se ae am oe oo

MARINE MIDLAND BANK, N.A., :
Plaintiff, ‘
Index No. 27449/92

- against - :
IAS Part 14

RICHARD F., KOCH and : Justice Altman
RICHARD F. KOCH @/b/a KOCH REALTY co.,

Defendants.
The above-captioned action having been commenced hy j

plaintiff Marine Midland Bank, N.A. against defendants Richard F.
Koch and Richard F. Koch d/b/a Koch Realty Co., and the Court
having issued an Order dated June 18, 1993 granting plaintirf
summary judgment against defendants Richard F. Koch and
Richard F. Koch d/b/a Kech Realty Corp., on its first cause of
action, jointly and severally, in the amount of $2,798,9489.58
plus unpaid interest aa prayed for allowable by law ag computed
by the Clerk, on ite second cause of action in the amount of
$62,006.50 plus unpaid interest as prayed for allewable by law aa
computed by the clerk, and granting plaintiff its reasonable
attorneys’ fees in the amount of $5,414.00, togather with casts
and disbursements.

NOR, on motion of Phillips, Lytle, Hitchcock, Blaine a

Huber, attorneys for the plaintiff Marina Midland Bank, N.A., it

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EXHIBIT

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Case 0:13-Cv-61475-RNS Document 7 Entered on FLSD Docket 07/24/2013 Page 11 of 20

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UNGED that plaintiff Marine Midland Bank, N.Ay,

Qway, New York, New York, do rec r of

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Co., both rasiding at 2243 Hal @e, Merrick, New York, on

residing at 140 B
defendants Richard F. Ko

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in the amount , amounting in all fowthe sum of
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ADJUDGED that plaintiff Marine Midland Bank, N.A.,

ut unpaid interest

residing at 140 Broadway, New York, New’ York, do recover of

defendants Richard F. Koch and Richard F. Koch a/b/a Koch Realty

Co., both residing at 2243 Halyard Drive, Merrick, New York, the

sum of $2. 4604)0.418 , together with accrued but unpaid interest €s4 +

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in the amount of $672, 356-4 _,, amounting in all to the sum of

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and—_it—is—further,
meee eet plaintiff Marine Midland Bank, N-A.,

residing at 140 Br York, New York, do-recover of
defendants Richard F. Koch a dRichard— 7 Koch d/b/a Koch Realty
yea Drive, werrick, New York,

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Ca., both residing at 2243

- jointly and severe

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Pace’ G¥p that plaintiff Marine Midland Bank, N.

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*'-  gependants Richard F. Koch and Rithazd@-F. Koch d/b/a Koch Realty

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Co., jointly and severa

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ution therefor.

tT’
Judgment signed this. |“ day of Ocfoher, 1993. j

Anon | XK!
Hon. Norman Goodman

County Clark
New York founty

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SW ah ee Bp

NY. CO, Chg PEE(CE

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Exhibit A a
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LSD Docket 07/24/2013 y,Pagg13,af, 20> 2011

‘ > CE ‘
NYSCEF USER: TWERNHAM COUNTY CLERKS OFFICE NEW YORK DATE: 12/06/2007 | 90/09/2023
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BOOK TYPE: 01 CONTROL NUMBER: 000591681 - 03
DATE REMARKS

02151995 JUDGEMENT ASSIGNED TO 645 WEST 44TH ST ASSOCIATES, A NEW YORK GENERAL
02151995 PARTNERSHIP; ADDRESS-100 WASHINGTON ST. NEWARK, NEW JERSEY.

PRESS:PF1~ HELP, PF2~- RETURN, PF7- SCR UP, PF8- SCR DOWN, ENTER~ APPLY UPDATES

EXHIBIT

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Case 0: he 61415. RNS _ Document 7 Entered on ESD Docket Oecd Page 14 of 20°

SUPREME COURT OF THS STATE OF NEW YORK
COUNTY OF NEW YORK

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-

MARINE MIDLAND BANK, N.A., 2 3

ARSIGNMENT OF BENT

Plaintiff,
Index No.
- againsc -
IAS Part
RICHARD F. KOCH and : dJustica A
RICHARD F. KOCH d/b/a KOCH REALTY CO.,
Defandants.
Ce ee ee

KNOW THAT, MARINE MIDLAND BANK, a bank organized under '
the laws of the State of New York and successor by conversion to
Marine Midland Bank, N.A; with offices at 140 Broadway, New York,
New York 10005-1180 ("Marine‘), in consideration of Ten Dollars
($10.00), and other good and valuable consideration paid by 645
West 44th Street Associates, a New York general partnership, with
offices at 100 Washington Street, Newark, New Jersey
("assignee"), hereby assigns unto Assignee Any and all of
Marine’s right, title and interest in and to that certain
judgment signed and entered in New York County on October 14,
1993 in the action antitled Marine Midland Bank, NA. vy,
Richard F, Koch and Richard F. Koch d/b/a Koch Realty Co. (Index
No. 27449/92).

TO HAVE AND 710 HOLD the same unto Assignee and its

euccessorg and assigns forevar.

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Case 0:13-Cv-61475-RNS_ Document 7 Entered on ELSD Docket 0

{ ‘ :
This Assignment is made without any reprasentation o

warranty whatsoever by Marine and upon tha express condition,
understanding and agreement that this Assignment is made without
recourse to Marine, its guccessors or assigns, for any cause

whatsoever by Assignes or by any suctersor to the interest of

Assignee in said action, document or matter assigned hereby.

IN WITNESS WHEREOF, Marine and Assignees have duly
4 executed this Assignment as of the 2ist day of September, 1994.
‘ MARINE MIDLAND BANK

By: Lins Ellon

Richard &” Werner
Vice President

903,237
| PSU/SY S\DOCSIRICV0SI 3 167.81

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STATE OF N&W YORK }
S&.;:
COUNTY OF NEW YORK }

On tha 7 day of Pebruary, 1995, before me personally
came Richard J. Werner to me known, or satisfactorily proved to
be the parson whose name is subscribed to the within instrument,
who being by me duly sworn, did depose and say that he resides at
140 Broadway, Naw York, New York, that he is a Vica President of
MARINE MIDLAND BANK, the bank dascribed in and which sxecutad the
above instrument; and char he is duly authorized to sign his name
thereto by authority of said pank.

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Notary Public

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City: “43
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RECEIVED NYSCEF: 06/09/2011

Ce Oe,
Dhe People of the State of New Bork:

BY THE GRACE OF GOD FREE AND INDEPENDENT
To all to whom these presents shall come or may concern, GREETING:

Kunin ie, That we having examined the records and files in the office of
the Clerk of the County of New York and Clerk of the Supreme Court of said State

for said County, do find acertam 0.0% 4 +\ a fiellt

there remaining, in the words and figures following, to wit:

EXHIBIT

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Case 0:13-cv-61475-RNS Document 7 Entered on FLSD Docket 07/24/2013 Page 18 of 20

SUPREME COURT OF THE STATE OF NEW YORIS
COUNTY OF NEW YORK

ee eX
645 5 West 4a" Street “Associ ules, as FUDGMENT
assignee of Marine Midland Bank, N.A
Plaintiff, Index: 113873/2007

—— againsi-—

Richard F. Koch and Richard F. Koch
d/b/a Koch Realty Co.
Delendants.

[he issues in this action having been duly heard before Hon. Judith J. Gische,

LSC. in Motion Part at the Courthouse at 60 Centre St,, New York, N.Y. on December

20, 2007, and the plaintiff having appeared by his attorney, Law Office of Martin

Mushkin. LLC (by Martin Mushkin), and the defendant having defaulted, and deel gion eee orci
of the Court having been filed on February 7, 2008. granting summary judgment in lieu

of complaint in favor of the plaintiff, in the total amount of $3,539.22 1.94, plus interest

on $2.866,410.48 at the annual rate of 9% since entry of the original judgment on

October 14, 1993 and the plaintiff's costs and disbursements having been duly taxed by

the clerk in the sum of $ Sa: bk

Now , on motion of Martin Mushkin of Law Office of Martin Mushkin, LLC itis
=epebiehs ADIUDGED AdteerMetedstsbk that the plaintiff 645 West 44"
Street Associates, as assignee of Marine Midland Bank, N.A., recover of detendants
Richard F. Koch and Richard F. Koch d/b/a Koch Realty Co., the sum of $3,539,221.94,
plus interest on $2,866,410.48 at the annual rate of 9% since entry of the original

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judgment on October 14, 1993 yplus the plaintiffs costs and disbursements having been

CAMM matters 30\Nislick’3213¢1 }judgment 03-11-08 doe . |
Case 0:13-cv-61475-RNS Document 7 Entered on FLSD Docket 07/24/2013 Page 19 of 20

duly taxed by the clerk in the sum of § Sol. BL, . making in all the suni. of

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/ SY BAR AGS-K4 and that the plaintiff have execution therefor.

Rene ,
Judgment signed Irkarsh & | 2008.

CMM matters 30'Nislick\32 1301 Audement 03-1 1-68-<loc
Case 0:13-cv-61475-RNS Document 7 Entered on FLSD Docket 07/24/2013 Page 20 of 20

the Seal of our said County and Su preme Court to be hereunto affixed.

Witness, Hon, apic: e.ghustice of the Supreme

JOHN Ef S Tae pyTH
Court of the State of New York for the County of New York, the /(
day of A VE in the year of our Lord two thousand
and SIGHT , and of our independence the two hundred and

~ Fis 3 7 /
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County Clerk and Clerk of the
Supreme Court, New York County
. JON Est ST esis

iia Justice of the Supreme Court of the State of New York for the County at”

: he same being a Court of Record, de hereby certify that the forego
Bin due and proper form and by the proper officer. /

Dated, New York, 2005 cont
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the State of Mew York
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State of New York, i fe
County of New York, | = /

I, NORMAN GOODMAN, (Count Clerk and Clerk of the
Supreme Court of the State pf Néw York, County of New
York, do hereby certify that hia ee ih Sta HOUSE
whose name is subscribed to thE Breseding certificate is
a Justice of the Supreme Court of said State in and for
the County of New York, duly elected and qualified, and
that the signature of said Justice to said certificate is genuine.

IN TESTIMONY WHEREOF, 1 have hereunto set my
hand and affixed the Seal of said County and Court this
day of 20% .

fit Wor Cha Ede
County Clerk and Clerk of the
Supreme Court, New York County.
